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                                   5                                    UNITED STATES DISTRICT COURT

                                   6                                   NORTHERN DISTRICT OF CALIFORNIA

                                   7                                          SAN JOSE DIVISION

                                   8
                                            UNITED STATES OF AMERICA,
                                   9                                                       Case No. 5:18-cr-00258-EJD-1
                                                          Plaintiff,
                                  10                                                       ORDER RE: HOLMES’ MOTION TO
                                                    v.                                     EXCLUDE EXPERT OPINION
                                  11                                                       TESTIMONY OF DR. STEPHEN
                                            ELIZABETH A. HOLMES,                           MASTER UNDER RULES 401-403 AND
                                  12                                                       702
Northern District of California




                                                          Defendant.
 United States District Court




                                  13

                                  14           Defendants Elizabeth Holmes (“Holmes”) and Ramesh “Sunny” Balwani (“Balwani”) are

                                  15   charged with wire fraud, in violation of 18 U.S.C. § 1343, and conspiracy to commit wire fraud, in

                                  16   violation of 18 U.S.C. § 1349. The charges stem from Defendants’ allegedly deceptive

                                  17   representations about their company, Theranos, and its technology. Pending before the Court is

                                  18   Holmes’ motion to exclude expert opinion testimony of Dr. Stephen Master under Federal Rules

                                  19   of Evidence 401-403 and 701. (“Mot.”), Dkt. No. 560. Having had the benefit of oral argument

                                  20   and having considered the parties’ papers, the Court DENIES IN PART and DEFERS IN PART

                                  21   Holmes’ motion to exclude Dr. Master’s expert opinion testimony. Specifically, the Court will not

                                  22   exclude Dr. Master’s opinions regarding industry standards and the Vitamin D assay, and will

                                  23   defer ruling on the balance of Holmes’ motion to exclude pending a Daubert hearing.

                                  24   I.      BACKGROUND
                                  25           A.        DR. STEPHEN MASTER
                                  26           In support of its case, the Government offers Dr. Stephen Master as an expert in clinical

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                                   1   pathology and chemistry. Specifically, Dr. Master was retained to provide opinions on whether

                                   2   Theranos was market ready and able to produce accurate and reliable fingerstick results for tests

                                   3   such as Vitamin D, chloride, potassium, bicarbonate, HIV, HbA1c, hCG, cholesterol, calcium, and

                                   4   sodium. See Declaration. of Amy Mason Saharia In Support Of Ms. Holmes’ Motions In Limine

                                   5   And Daubert Motions To Exclude Expert Testimony (“Saharia Decl.”) Ex. 6 (Expert Report of

                                   6   Stephen Master, MD, PhD, FCAP, FAACC (“Master Report”)), Dkt. No. 580-5 at 2-3.

                                   7            Dr. Master is the Chief of Clinical Chemistry Laboratory Services at Weil Cornell

                                   8   Medicine and New York Presbyterian Hospital. Master Report at 1. He also currently serves as

                                   9   Chief of the Division of Laboratory Medicine and Medical Director of the Michael Palmieri

                                  10   Laboratory for Metabolic and Advanced Diagnostics at the Children’s Hospital of Philadelphia,

                                  11   and as an Associate Professor of Pathology and Laboratory Medicine at the Perelman School of

                                  12   Medicine, University of Pennsylvania. Id. He is a Fellow of the College of American
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                                  13   Pathologists and President-Elect of the Board of Directors of the American Association for

                                  14   Clinical Chemistry. Dr. Master holds both an MD and a PhD (in cell and molecular biology) from

                                  15   the University of Pennsylvania School of Medicine.

                                  16            B.     THE MASTER REPORT
                                  17            Dr. Master’s twenty-page report sets forth two primary opinions regarding (1) Theranos’

                                  18   adherence to industry standards and (2) the accuracy and reliability of specific Theranos blood

                                  19   tests.

                                  20                   i.      Industry Standards
                                  21            First, Dr. Master sets forth general background principles regarding how blood tests are

                                  22   performed, how the performance of a laboratory test is measured, and the regulatory framework in

                                  23   which laboratories operate. Master Report at 3-11. Specifically, Dr. Master explains that there are

                                  24   two basic concepts that characterize the performance of a laboratory test: accuracy and precision.

                                  25   Accuracy refers to “how close the result comes to the ‘true’ amount of the analyte”—i.e., the

                                  26   substance being tested— “in a blood sample.” Id. at 6. Precision, according to Dr. Master, refers

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                                   1   to the degree to which a test produces the same result when it measures the same sample multiple

                                   2   times. Id. at 6-7. In other words, “in order to produce accurate and reliable results, a clinical

                                   3   assay must typically agree with the accepted results from a gold standard (accuracy), and it also

                                   4   must be able to do this reproducibly (reliab[ility]).” Id. at 12. Because Dr. Master was retained to

                                   5   opine only on Theranos’ fingerstick tests, he expressly disclaims offering any opinions on the

                                   6   many tests that Theranos performed on “traditional venous samples on FDA-approved or cleared

                                   7   instruments from third-party vendors.” Id. at 11.

                                   8           Dr. Master then gives an overview of the regulatory framework that applies to clinical

                                   9   laboratories. Id. at 8-11. He explains that “clinical testing is regulated by the Clinical Laboratory

                                  10   Improvements Amendments (“CLIA”), which specifies the legal requirements for engaging in

                                  11   medical testing and is broadly administered under the Center for Medicare and Medicaid Services

                                  12   (“CMS”). He notes that CLIA requires laboratories to perform certain experiments to ensure their
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                                  13   tests are suitable for clinical use, including proficiency testing, quality control checks, establishing

                                  14   and verifying reference ranges, and other validations of accuracy and precision. Id. at 8-10.

                                  15           Based on “publicly available information, scholarly research, and materials produced in

                                  16   discovery in this case,” Dr. Master concludes that “Theranos did not adhere to normal industry

                                  17   standards for clinical laboratory testing from 2013-2015.” Id. at 17. He stated that “[r]unning

                                  18   patient samples when QC is giving values out of the acceptable range directly impacts the

                                  19   accuracy and reliability of the results that are returned to the patient or clinician.” Id. He opined

                                  20   further that “Theranos did not appropriately engage in proficiency testing,” and that this had the

                                  21   potential to adversely affect the accuracy of its results. Id. at 18.

                                  22                 ii.       Theranos Blood Tests
                                  23           Second, Dr. Master opines about Theranos blood tests. To form his opinions, he reviewed

                                  24   materials provided in discovery in this case, including the Center for Medicare and Medicaid

                                  25   Services survey report (“CMS Report”), which included data from three Theranos devices,

                                  26   covering quality control data for approximately 30 days in 2014, the Icahn School of Medicine

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                                   1   Report (“Icahn Report”), “frequent complaints from customers according to internal Theranos

                                   2   emails,” and other internal Theranos emails and documents. Id. at 15-16.

                                   3          Based on those documents, Dr. Master concludes “Theranos was not market ready and able

                                   4   to produce accurate and reliable fingerstick results for tests such as Vitamin D, chloride,

                                   5   potassium, bicarbonate, cholesterol, and sodium.” Master Report at 12. He opines further “there

                                   6   are substantial questions about the ability of their laboratory to provide patient-appropriate results

                                   7   for calcium, HIV, HbA1c, and hCG,” but notes that “there are insufficient additional details in the

                                   8   material I have reviewed to determine the cause of these issues, the relationship to either the

                                   9   sample type or Theranos technology, or the resolution of the problems.” Id. at 12, 15.

                                  10   II.    LEGAL STANDARD
                                  11          Under Rule 702, expert testimony is admissible only when it (1) “will help the trier of fact

                                  12   to understand the evidence or to determine a fact in issue”; (2) “is based on sufficient facts or
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                                  13   data”; (3) “is the product of reliable principles and methods”; and (4) the expert has “reliably

                                  14   applied the principles and methods to the facts of the case.” Fed. R. Evid. 702; see Daubert v.

                                  15   Merrell Dow Pharm., Inc., 509 U.S. 579, 589-90 (1993). An expert witness may be qualified by

                                  16   “knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. To be considered

                                  17   reliable, scientific opinions must be based on scientifically valid principles. Daubert, 509 U.S. at

                                  18   589. The proponent of expert testimony has the burden of proving admissibility in accordance

                                  19   with Rule 702.

                                  20          Under Daubert, the Court exercises a gatekeeping function to ensure an expert’s proffered

                                  21   testimony is relevant and reliable. United States v. Valencia-Lopez, 971 F.3d 891, 897-98 (9th

                                  22   Cir. 2020). “[T]he case law—particularly Ninth Circuit case law—emphasizes that a trial judge

                                  23   should not exclude an expert opinion merely because he thinks it’s shaky, or because he thinks the

                                  24   jury will have cause to question the expert’s credibility. So long as an opinion is premised on

                                  25   reliable scientific principles, it should not be excluded by the trial judge.” Optronic Techs., Inc. v.

                                  26   Ningbo Sunny Elec. Co., No. 5:16-CV-06370-EJD, 2019 WL 4780183, at *1 (N.D. Cal. Sept. 30,

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                                   1   2019) (citing In re Roundup Prods. Liab. Litig., 2018 WL 3368534 (N.D. Cal. July 20, 2018).

                                   2   “Rule 702 and Daubert are not ‘guarantees of correctness;’ rather, they are safeguards against

                                   3   unreliable or irrelevant expert opinions.” NetFuel, Inc. v. Cisco Sys. Inc., No. 5:18-CV-02352-

                                   4   EJD, 2020 WL 1274985, at *2 (N.D. Cal. Mar. 17, 2020) (quoting i4i Ltd. P’ship v. Microsoft

                                   5   Corp., 598 F.3d 831, 855 (Fed. Cir. 2010)).

                                   6   III.   DISCUSSION

                                   7          Holmes argues that Dr. Master’s opinions about the reliability and accuracy of Theranos

                                   8   blood tests, as well as his opinions about Theranos’ compliance with industry standards, should be

                                   9   excluded. Holmes also argues that Dr. Master is unqualified to opine on fingerstick technology.

                                  10          A.      QUALIFICATIONS

                                  11          The parties agree that Dr. Master is qualified to opine about laboratory practices and

                                  12   clinical pathology generally, and the Court agrees. Holmes argues, however, that Dr. Master is not
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                                  13   qualified to provide opinions on “the accuracy or reliability of fingerstick testing on Theranos

                                  14   devices” specifically. Mot. at 24. While Holmes acknowledges Dr. Master’s significant training

                                  15   and experience in clinical pathology and chemistry, she argues that he “does not identify any

                                  16   relevant experience with fingerstick blood testing” and “does not claim to have any knowledge of

                                  17   Theranos’ proprietary technology.” Mot. at 24.

                                  18          “Experts are not required to have previous experience with the product at issue.” In Re:

                                  19   Macbook Keyboard Litigation, No. 5:18-CV-02813-EJD, 2021 WL 1250378, at *6 (N.D. Cal.

                                  20   Apr. 5, 2021) (quoting Czuchaj v. Conair Corp., No. 313CV01901BENRBB, 2016 WL 4414673,

                                  21   at *3 (S.D. Cal. Aug. 19, 2016)); see also Abaxis, Inc. v. Cepheid, No. 10-CV-02840-LHK, 2012

                                  22   WL 2979019, at *3 (N.D. Cal. July 19, 2012) (“Rule 702 imposes no requirement that experts

                                  23   have personal experience in an area to offer admissible testimony relating to that area”). Dr.

                                  24   Master is board certified in Clinical Pathology by the American Board of Pathology, and

                                  25   fingerstick blood testing falls within the discipline of Clinical Pathology. His responsibilities as

                                  26   Laboratory Director and Chief of Clinical Laboratory Services at multiple hospitals over more

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                                   1   than a decade undoubtedly included oversight of fingerstick testing. The Court finds that Dr.

                                   2   Master need not have extensive personal knowledge in fingerstick testing, nor in Theranos’

                                   3   technology specifically, to offer a helpful and reliable opinion about the accuracy and reliability of

                                   4   such testing.

                                   5          B.       INDUSTRY STANDARDS

                                   6          Holmes seeks to exclude Dr. Master’s testimony and opinions about Theranos’ laboratory

                                   7   practices. Specifically, Dr. Master opines “Theranos did not adhere to normal industry standards

                                   8   for clinical laboratory testing from 2013-2015,” and that “this lack of adherence had the potential

                                   9   to adversely impact test accuracy and reliability.” Master Report at 17. Holmes argues that these

                                  10   opinions should be excluded because they constitute impermissible legal opinions and because

                                  11   they will not be helpful to the jury.

                                  12          First, Holmes argues that Dr. Master’s opinions about Theranos’ compliance with industry
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                                  13   standards rest on his interpretation of federal law and its application to Theranos. Dr. Master

                                  14   indeed explains the “legal requirements” for clinical testing under CLIA and relevant U.S. Food

                                  15   and Drug Administration (“FDA”) regulations as part of the background necessary to understand

                                  16   how and why laboratories operate the way they do. He concludes that Theranos did not adhere to

                                  17   normal industry standards for laboratory testing because (1) it did not prevent patient samples

                                  18   from being run on devices where the quality control indicated that the device was operating

                                  19   improperly, (2) it did not appropriately engage in any proficiency testing, and (3) it did not add a

                                  20   disclaimer to its laboratory developed tests—a designation that encompasses all Theranos tests—

                                  21   indicating that the test was not FDA approved or cleared.

                                  22          Holmes argues that Dr. Master’s “subjective, non-lawyer interpretation of what federal law

                                  23   requires and how it applies to Theranos are ‘inappropriate subjects for expert testimony.’” Mot. at

                                  24   19 (quoting Aguilar v. Int’l Longshoremen’s Union Local No. 10, 966 F.2d 443, 447 (9th Cir.

                                  25   1992)). Holmes maintains that, because Dr. Master is not a lawyer, he is not qualified to provide a

                                  26   legal opinion about what Theranos was or was not legally obligated to do under CLIA and FDA

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                                   1   regulations. And even if he was so qualified, Holmes argues that it is not permissible for expert

                                   2   testimony to “prescribe legal standards to apply to the facts of the case” or to opine on “legal

                                   3   compliance in the language of ‘industry practice.’” Mot. at 20 (citing In re Rezulin Prod. Liab.

                                   4   Litig., 309 F. Supp. 2d at 558 (“testimony encompassing an ultimate legal conclusion based upon

                                   5   the facts of the case is not [admissible] and may not be made so simply because it is presented in

                                   6   terms of industry practice”)).

                                   7          The Government argues that Dr. Master is not prohibited from testifying about industry

                                   8   standards, of which he has extensive knowledge, merely because federal regulations form part of

                                   9   those standards. The Ninth Circuit has permitted experts to testify about industry standards even

                                  10   where the testimony “relie[s] in part on [the expert’s] understanding of the requirements of . . .

                                  11   law.” Hangarter v. Provident Life & Accident Ins. Co., 373 F.3d 998, 1017 (9th Cir. 2004) (“‘[A]

                                  12   witness may refer to the law in expressing an opinion without that reference rendering the
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                                  13   testimony inadmissible. Indeed, a witness may properly be called upon to aid the jury in

                                  14   understanding the facts in evidence even though reference to those facts is couched in legal

                                  15   terms’”) (quoting Specht v. Jensen, 853 F.2d 805, 809 (10th Cir. 1988)); see also King v. GEICO

                                  16   Indem. Co., 712 Fed. Appx. 649 (9th Cir. 2017) (“Although it is well established that experts may

                                  17   not give opinions as to legal conclusions, experts may testify about industry standards”).

                                  18          The Court agrees with the Government that Dr. Master should not be precluded from

                                  19   testifying about industry standards in clinical laboratories simply because that industry happens to

                                  20   be heavily regulated. Cases where courts have excluded expert witness testimony on these

                                  21   grounds have generally focused on preventing the expert from opining on an “ultimate legal

                                  22   conclusion” in the case. See e.g., In re Rezulin Prod. Liab. Litig., 309 F. Supp. 2d at 558 (“expert

                                  23   testimony must be circumscribed carefully to ensure that ‘the expert does not usurp either the role

                                  24   of the trial judge in instructing the jury as to the applicable law and the role of the jury in applying

                                  25   that law to the facts before it.’”); Aguilar v. Int’l Longshoremen’s Union Loc. No. 10, 966 F.2d at

                                  26   447 (affirming the exclusion of expert testimony as to the reasonableness and foreseeability of

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                                   1   plaintiffs’ reliance on an employer’s promise in a promissory estoppel claim). The applicable law

                                   2   in this case will not include the CLIA and FDA regulations about which Dr. Master testifies. Nor

                                   3   will the jury be asked to decide whether Theranos or Holmes violated any such regulation. Thus,

                                   4   there is little risk in this case that Dr. Master’s testimony about applicable regulations will unduly

                                   5   influence the jury as to any ultimate legal issue in the case.

                                   6          Moreover, Dr. Master’s focus will be on whether Theranos adhered to industry standards,

                                   7   not whether Theranos violated applicable regulations. While certain conduct may implicate

                                   8   regulations, the Court anticipates that any confusion or unfair prejudice resulting from testimony

                                   9   about regulatory violations can be mitigated by careful examination and thoughtful language. For

                                  10   example, while Dr. Master may be precluded from testifying that Theranos violated CLIA

                                  11   regulations by failing to perform sufficient proficiency testing, he may testify that it is typical to

                                  12   perform proficiency testing in the industry and that Theranos did not do so. See, e.g., Sands v.
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                                  13   Integon Nat’l Ins. Co., 2020 WL 7027442, at *4 (D. Colo. Nov. 30, 2020) (“[The expert] may not

                                  14   opine whether defendants met their duties under applicable caselaw or violated various statutes,

                                  15   but may testify whether, in his opinion, defendants’ conduct conformed with specific insurance

                                  16   industry standards, including ones identified in those statutes”).

                                  17           Finally, Holmes argues that Dr. Master’s opinions about industry standards will be

                                  18   unhelpful to and mislead the jury. Dr. Master opines that Theranos’ lack of adherence to industry

                                  19   standards “had the potential to adversely impact test accuracy and reliability.” Master Report at

                                  20   17. According to Holmes, “[t]o be helpful to [the] jury’s assessment of accuracy and reliability,

                                  21   Dr. Master’s testimony would need to show that Theranos’ supposed deviations from industry

                                  22   practice affected the integrity of its tests to such a degree that it would be materially false for

                                  23   someone with knowledge of the deviations to represent that Theranos’ tests were accurate and

                                  24   reliable.” Mot. at 22-23.

                                  25          The Government argues that the Master Report adequately ties Theranos’ practices to the

                                  26   accuracy and reliability of their blood tests, such that Dr. Master’s testimony will be helpful to the

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                                   1   jury. For example, Dr. Master explains that the failure to abide by industry-wide quality control

                                   2   standards can impact testing: “[r]unning patient samples when QC is giving values out of the

                                   3   acceptable range [as the CMS report described] directly impacts the accuracy and reliability of the

                                   4   results that are returned to the patient or clinician.” Master Report at 17. The Government also

                                   5   points out that the Holmes herself recognized the connection between laboratory compliance

                                   6   practices and accuracy, touting Theranos’ 100% proficiency testing score in investor PowerPoints

                                   7   as an indicator of accuracy. Gov’t Mots. in Limine, Ex. A, Dkt. No. 588-2 at ECF pg. 8.

                                   8          The Court disagrees with Holmes’ characterization of what evidence may be helpful to the

                                   9   jury. Dr. Master’s testimony need not provide complete or even direct evidence of Holmes’ guilt

                                  10   to be helpful to the jury. United States v. Christian, 749 F.3d 806, 811 (9th Cir. 2014) (“a district

                                  11   court deciding whether to admit expert testimony should evaluate whether that testimony ‘will

                                  12   assist the trier of fact in drawing its own conclusion as to a fact in issue’ and should not limit its
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                                  13   consideration to ‘the existence or strength of an expert’s opinion’”), overruled on other grounds

                                  14   by United States v. Bacon, 979 F.3d 766 (9th Cir. 2020) (emphasis in original). Although Dr.

                                  15   Master does not specifically conclude that Theranos’ failure to abide by industry standards

                                  16   actually affected test results, his testimony about the purpose and effect of industry standards is

                                  17   nonetheless helpful.

                                  18          Thus, the Court finds Dr. Master’s opinions about industry standards relevant to

                                  19   determining whether Theranos tests were consistently accurate and reliable, and helpful to the jury

                                  20   in assessing whether Holmes’ statements were misleading. Accordingly, Holmes’ motion is

                                  21   DENIED as to these opinions.

                                  22          C.      THERANOS BLOOD TESTS

                                  23          Holmes challenges Dr. Master’s opinions about the reliability and accuracy of particular

                                  24   Theranos blood tests on three grounds.

                                  25          First, for four of the assays Dr. Master was asked to consider (HIV, HbA1c, hCG, and

                                  26   Calcium), he concluded that “there are substantial questions about the ability of [the] laboratory to

                                  27   provide patient-appropriate results” but that he lacks sufficient data to reach a more definitive
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                                   1   opinion. Master Report at 12, 15. Holmes argues “[t]hat nonopinion will not help the jury” and is

                                   2   unreliable. Mot. at 8.

                                   3          To assess whether proffered expert testimony would help the jury in a given case, courts

                                   4   “must look to the governing substantive standard.” Daubert II, 43 F.3d at 1320. In this case, the

                                   5   substantive charge is wire fraud. The Government argues that “[g]iven the certitude and breadth
                                       with which Defendant spoke – the highest levels of accuracy for virtually every test – Dr. Master’s
                                   6
                                       opinion will assist the jury in assessing if that was true” for these four tests. Opp’n, Dkt. No. 668
                                   7
                                       at 8. The Court agrees, in principle, that Dr. Master’s testimony about these four tests and his
                                   8
                                       conclusion that there are “substantial questions” about their accuracy could be helpful to the jury if
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                                       that conclusion is based on sufficient facts or data to be reliable. The Court has concerns,
                                  10
                                       however, about Dr. Master’s representations that the materials he had access to were insufficient.
                                  11
                                       See, e.g., Master Report at 15 (“there are insufficient additional details in the material I have
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                                       reviewed to determine the cause of these issues, the relationship to either the sample type or
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                                       Theranos technology, or the resolution of the problems”); id. at 16 (“in many cases I have not been
                                  14
                                       able to identify a clear paper trail demonstrating the root of these inaccuracies”).
                                  15
                                              Second, Holmes argues Dr. Master’s testimony about all ten tests is unreliable because he
                                  16
                                       does not apply the scientific methodology that he himself outlines for determining whether a given
                                  17   test is suitable for clinical practice; rather, he bases his opinions on “anecdotes or snippets of data,
                                  18   none of which reliably support his opinions.” Mot. at 8. More specifically, Dr. Master reported
                                  19   that he relied on the CMS Report for his opinion as to Vitamin D, the Icahn Report for his opinion
                                  20   as to cholesterol, and “frequent complaints from customers” derived from internal Theranos
                                  21   emails or “Theranos internal investigations” for his opinions as to all other tests. The Government
                                  22   maintains that these bases are sufficiently reliable, and that Holmes’ objection goes to the weight
                                  23   of the testimony rather than its admissibility. Opp’n at 7-8.

                                  24          In determining admissibility under Rule 702, the Court must “assess whether ‘the

                                  25   reasoning or methodology underlying the testimony is scientifically valid’ and ‘properly can be

                                  26   applied to the facts in issue,’ with the goal of ensuring that the expert ‘employs in the courtroom

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                                   1   the same level of intellectual rigor that characterizes the practice of an expert in the relevant

                                   2   field.’” United States v. Ruvalcaba-Garcia, 923 F.3d 1183, 1188 (9th Cir. 2019) (quoting

                                   3   Daubert, 509 U.S. at 592-93 and Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999)).

                                   4          The Court is satisfied that Dr. Master’s reliance on the CMS Report is scientifically sound.

                                   5   The CMS Report contains a significant amount of quality control data from Theranos assays,

                                   6   which is precisely the type of data that Dr. Master asserts is necessary to assess the accuracy of a

                                   7   given blood test. Thus, the Court finds Dr. Master’s testimony and opinion as to the Vitamin D

                                   8   assay to be reliable.

                                   9          As to Dr. Master’s testimony and opinions about all other assays, Dr. Master does not

                                  10   provide sufficient information—about his underlying reasoning or methodology—in his report for

                                  11   the Court to assess the reliability of his opinion. Where a party “raises a material dispute as to the

                                  12   admissibility of expert scientific evidence, the district court must hold an in limine hearing (a so-
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                                  13   called Daubert hearing) to consider the conflicting evidence and make findings about the

                                  14   soundness and reliability of the methodology employed by the scientific experts.” Daubert II, 43

                                  15   F.3d at 1319 n.10 (citing Fed. R. Evid. 104(a)). The Court concludes that a Daubert hearing is

                                  16   appropriate to assess the reliability of Dr. Master’s methodology, which he employed to provide

                                  17   testimony and opinions about chloride, potassium, bicarbonate, HIV, HbA1c, hCG, cholesterol,

                                  18   calcium, and sodium.

                                  19   IV.    CONCLUSION
                                  20          For the reasons stated, the Court DENIES the motion to exclude Dr. Master’s opinions

                                  21   regarding industry standards and the Vitamin D assay. The Court will defer ruling on the balance

                                  22   of Holmes’ motion to exclude pending a Daubert hearing. The Government shall determine Dr.

                                  23   Master’s availability for a Daubert hearing, meet and confer with Holmes’ counsel regarding

                                  24   scheduling, and shall notify the deputy clerk of the parties’ proposed date for a Daubert hearing.

                                  25   Any supplemental material the Government plans to rely on at the hearing shall be filed no later

                                  26   than ten business days before the hearing. Holmes may file a responsive brief no later than five

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                                       Case No.: 5:18-cr-00258-EJD-1     11
                                  28   ORDER RE: HOLMES’ MOTION TO EXCLUDE EXPERT OPINION TESTIMONY OF DR.
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                                   1   business days before the hearing.

                                   2          IT IS SO ORDERED.

                                   3   Dated: May 21, 2021

                                   4                                       ______________________________________
                                                                           EDWARD J. DAVILA
                                   5                                       United States District Judge
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Northern District of California
 United States District Court




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